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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 23-CV-61167-ALTONAGA/STRAUSS

  BRUNA ARENALES SALGADO DE OLIVERA, et al.,
          Plaintiffs,
  v.

  UR JADDOU, Director, United States Citizenship and
  Immigration Services, et al.,
        Defendants.
  ________________________________________/

          AMENDED 1 ORDER PROVIDING INSTRUCTIONS FOR SETTLEMENT

                                              CONFERENCE

          THIS CAUSE has been referred to the undersigned for a settlement conference. [DE 44].

  As stated on the record at the September 6, 2023 status conference, it is hereby ORDERED AND

  ADJUDGED that the SETTLEMENT CONFERENCE in this matter set for September 14,

  2023 at 9:30 AM, see [DE 21], shall be conducted by VIDEO CONFERENCE. The undersigned

  now issues the following additional instructions:

  1. Participant        information    for   the   Zoom   settlement   conference   is   as   follows:

       Link:

       https://www.zoomgov.com/j/1617970364?pwd=UmcrclFRK2xhK3d6Z0ZZS1Zxb3VwQT09


  Meeting ID: 161 797 0364            Passcode: 3434

  Dial by your location
  • +1 669 254 5252 US (San Jose)
  • +1 646 828 7666 US (New York)
  • +1 646 964 1167 US (US Spanish Line)
  • +1 551 285 1373 US (New Jersey)

  1
    The Court’s order has been amended to indicate that the public cannot attend the confidential
  settlement conference.
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  • +1 669 216 1590 US (San Jose)
  • +1 415 449 4000 US (US Spanish Line)

  Find your local number: https://www.zoomgov.com/u/aUSPDC1uJ

  2. Counsel shall share the ZoomGov Meeting information as appropriate with participants for

     their side.

  3. Participants should join the ZOOM Meeting by no later than 9:20 a.m. on the date of the

     settlement conference to test their system.

  4. Participants may click the link above to join at the appropriate time. Alternatively, participants

     may join the settlement conference without clicking on the link by going to

     https://zoom.us/join on any browser or to the ZOOM app on a tablet or smartphone and

     entering the Meeting ID and, when prompted, the Passcode. If participants have not already

     downloaded the Zoom app and their device requires it, they may be instructed to download it

     at this time. Participants should ensure that they have downloaded the necessary app prior to

     the date of the settlement conference.

  5. Participants will have an opportunity to test their audio by clicking on “Test Computer Audio.”

     Once satisfied that their audio works, participants should click on “join audio by computer.”

  6. The Host will place participants in the “waiting room” until the settlement conference begins.

  7. Participants should mute themselves when not speaking.

  8. Additional information and instructional videos are available at the ZOOM Help Center:

     https://support.Zoom.us/hc/en-us.      Also, system testing in advance of the settlement

     conference is available at: https://zoom.us/test.

  9. All persons granted remote access to proceedings are reminded of the general prohibition

     against photographing, recording, and rebroadcasting of court proceedings.

  10. Sanctions may be imposed for failure to follow any of the requirements of this Order.

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        DONE AND ORDERED in Fort Lauderdale, Florida, this 8th day of September 2023.




  Copies to counsel of record via CM/ECF




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